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AQ 245 SOR (Rev. 09/15) Judgment in a Criminal Case

 

Attachment (Page l) - Statement of Reasons

 

DEFENDANT: J UAN LARA
CASE NUMBER: 1215-Cr-10146-NMG-7
DI STRICT: MA

I.

II.

III.

STATEMENT OF REASONS

Sections I, II, III, II/I and Vll of the Statement of Reasons form must be completed in all felony and Class A misdemeanor cases.

COURT FINDINGS ON PRESENTENCE INVESTIGATION REPORT

A. The court adopts the presentence investigation report without change.
B. l:l The court adopts the presentence investigation report with the following changes: (Use Secnon VIlI gfnecessary)
(Check all that apply and specify court determination jindings, or comments, referencing paragraph numbers in the presentence report)
1. [:l Chapter Two of the United States Senteneing Commission Ml_e_s_l!l_tlel determinations by court: (briefly
summarize the changes, including changes to base offense level. or specific afense characteristics)

2. \:\ Chapter Three of the United States Sentenciug Commission Guidelines Manual determinations by court: (brtejty
summarize the changes, including changes to victim-related adjustments role in the ojiiznse, obstruction of justice, multiple caunts. or acceptance of
responsibility)

3. m Chapter Four of the United States Sentencing Commission Guidelines Manual determinations by court: (briejb'
summarize the changes, including changes to criminal history category or scores, career oj"ender status, or criminal livelihood determinations)

 

Addifiol‘lal Col'nmellfs 01' Findings: (include comments or factual findings concerning any information in the presentence report,

4. |:| including information that the F ederal Bureau of Prisons may rely on when it makes inmate classification designation or programming decisions;
any other rulings on disputed portions of the presentence investigation report; identification of those portions of the report in dispute but for which a
court determination is unnecessary because the matter will not a_@‘ect sentencing or the court will not consider it)

C~ |:l The record establishes no need for a presentence investigation report pursuant to Fed.R.Crim.P. 32.
Applicable Senterlcing Guideline! (i/more than one guideline applies, list the guideline producing the highest ojense level)

COURT FIND[NGS ON MANDATORY MlNIMUM SENTENCE (Check all that apply)

A. I:I One or more counts of conviction carry a mandatory minimum term of imprisonment and the sentence imposed is at or

above the applicable mandatory minimum term.
B. I:I One or more counts of conviction carry a mandatory minimum term of imprisonment, but the sentence imposed is below
the mandatory minimum term because the court has determined that the mandatory minimum term does not apply based on:

\:l findings of fact in this case: (Specgfy)

 

 

l:l substantial assistance (18 u.s.c. § 3553(¢))
L__l the statutory safety valve ns U.s.c. §3553(/))

C. No count of conviction carries a mandatory minimum sentence.
COURT DETERMINATION OF GUIDELINE RANGE: (BEFoRE DEPARTHRES on VARIANCES)
Total Offense Level: 19

 

 

 

 

Criminal History Category: l

Guideline Range: (a/ter application of §501.1 and §501.2) 30 to 37 months
Supervised Release Range: air 3 years

Fine Range: $ 7.500 to $ 1,000,000

 

m Fine waived or below the guideline range because of inability to pay.

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AO 245 SOR (Rev. 09/15) Judgment in a Criminal Case
Attachment (Page 2) _ Statement of Reasons

DEFENDANT: JUAN LARA
CASE NUMBER: 1215-cr-10146-NMG-7
DISTRICT: MA

STATEMENT OF REASONS
lv. GUIDELlNE sENTENclNG DETERMINATION tctectattthamppty)

A. I:I The sentence is within the guideline range and the difference between the maximum and minimum of the guideline range
does not exceed 24 months.

B. [] The sentence is within the guideline range and the difference between the maximum and minimum of the guideline range
exceeds 24 months, and the specific sentence is imposed for these reasons: (Use Secti'on Vlll tfnecessary)

 

C. I:I The court departs from the guideline range for one or more reasons provided in the Guidelines Manual.
(Also complete Section lO

D. The court imposed a sentence otherwise outside the sentencing guideline system (i.e., a variance). (Also complete Secttan VI)

V. DEPARTURES PURSUANT TO THE GUIDELINES MANUAL (Ifapplt'cable)

A. The sentence imposed departs: (Check only one)
l:\ above the guideline range
l:l below the guideline range

B. Motion for departure before the court pursuant to: (Clteck all that apply and spectjy reason(s) in sections C and D)

l. Plea Agreement

l:l binding plea agreement for departure accepted by the court

l:] plea agreement for departure, which the court finds to be reasonable

l:] plea agreement that states that the government will not oppose a defense departure motion
2. Motion Not Addressed in a Plea Agreement

l:\ government motion for departure

\:l defense motion for departure to which the government did not object

\:I defense motion for departure to which the government objected

[l joint motion by both parties
3. Other

l:l Other than a plea agreementh motion by the parties for departure

C. Reasons for departure: (Check all that apply)

[:] 4Al.3 CriminalHistory Inadequacy I:l 5K2.l Death I:l 5K2.12 Coercion and Duress
l] 5H1.1 Age l:| 5K2.2 Physicallnjury |] 5K2.13 Diminished capacity
m 5H1.2 Education and VocationalSkills m 5K2.3 Extreme Psychological [l 5K2.l4 Public Welfare
Injury
I:I 5H1.3 Mental and Emotional Condition I:I 5K2.4 Abduction or Unlawful I:] 5K2.16 Voluntary Disclosure of Offense
Restraint
l:l 5Hl.4 PhysicalCondition m 5K2.5 IP:YOPCFW Damage OI` I:I 5K2.l7 High-Capacity Semiautomatic Weapon
oss
[:] 5Hl.5 EmploymentRecord 13 5K2.6 Weapon [:I 5K2.18 ViolentStreetGang
|:] 5H1_6 Family Ties and Responsibilities |:| 5K2,7 Disruption of |:| 5K2_20 Aben-ant Behavior
Government Function
I:I 5Hl.ll Military Service I:l 5K2.8 Extreme Conduct l:l 5K2.2l Dismissed and Uncharged Conduct
l:l 5H1.ll Charitable Service/Good Works I:] 5K2.9 CriminalPurpose \:I 5K2.22 Sex Offender Characteristics
m 5Kl.l SubstantialAssistance \:I 5K2.10 Victim’s Conduct [___l 5K2.23 Discharged Terms ofImprisonment
I:l 5K2.0 Aggravating/Mitigating [:] 5K2.ll Lesser Harm l:l 5K2.24 Unauthorized lnsignia
Circumstances m 5K3.l Early Disposition Program (EDP)
I:l Other Guideline Reason(s) for Departure, to include departures pursuant to the commentary in the Guidelines Manual: (see "Lt'st of

Departure Pravisions ” following the lna'ex in the Guidelines Manual.) (Please spect‘jy)

D. State the basis for the departure. (Use Sectian Vl!l ifnecessaiy)

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AO 245 SOR (Rev. 09/15) Judgment in a Crimina| Case
Attachmcnt (Pege 3) - Statement of Reasons

DEFENDANT; JUAN LARA
cAsE NUMBER; 1:15-cr-10146-NMG-7
DISTRICT: MA
STATEMENT OF REASONS

VI. COURT DETERMINATION FOR A VARIANCE (Ifopptioablo)
A. The sentence imposed is: (Check only one)
I:I above the guideline range
IZI below the guideline range

B. MOinll for a variance before the Court pul‘Sllanf lot (Check all that apply and specify reason(s) in sections C and D)

1. Plea Agreement

I:] binding plea agreement for a variance accepted by the court

I:l plea agreement for a variance, which the court finds to be reasonable

I:I plea agreement that states that the government will not oppose a defense motion for a variance
2. Motion Not Addressed in a Plea Agreement

|ZI government motion for a variance

l:l defense motion for a variance to which the government did not object

defense motion for a variance to which the government objected

I:] joint motion by both parties
3. Other

I:I Other than a plea agreement or motion by the parties for a variance

C. 18 U.S.C. § 3553(a) and other reason(s) for a variance (Check all thatopply)
l:\ The nature and circumstances of the offense pursuant to 18 U.S.C. § 3553(a)(l):
l:] Mens Rea I:I Extreme Conduct ij Dismissed/Uncharged Conduct
[:] Role in the Offense I:I Victim impact
l:l General Aggravating or Mitigating Factors: (Specip)

 

lzl The history and characteristics of the defendant pursuant to 18 U.S.C. § 3553(3)(1):

 

Izl Aberrant Behavior [:l Lack of Youthful Guidance
[:\ Age l:l Mental and EmotionalCondition
[:\ Charitable ServicelGood |:| Military 5e1-vice
Works
I:] Community Ties I:] Non-Violent Offender
[:\ Diminished Capacity [:] PhysicalCondition
l:l Drug or AlcoholDependence [Z] Pre-sentence Rehabilitation
I:I Employment Record I:I Remorse/Lack of Remorse
\:l Family Ties and [:I Other:(Speony)
Responsibilities

 

[:I Issues with Criminal History: (Specijy)

 

To reflect the seriousness of the offense, to promote respect for the law, and to provide just punishment for the offense
(18 U.S.C. § 3553(a)(2)(A))

To afford adequate deterrence to criminal conduct (18 U.S.C. § 3553(a)(2)(B))

To protect the public ti'om further crimes of the defendant (18 U.S.C. § 3553(a)(2)(C))

To provide the defendant with needed educational or vocational training (18 U.S.C. § 3553(a)(2)(D))

To provide the defendant with medical care (18 U.S.C. § 3553(a)(2)(D))

To provide the defendant with other correctional treatment in the most effective manner (18 U.S.C. § 3553 (a)(Z)(D))
To avoid unwarranted sentencing disparities among defendants (18 U.S.C. § 3553(a)(6)) (Speogy in section D)

To provide restitution to any victims of the offense (18 U.S. C. § 3553(a)(7))

Acceptance of Responsibility l:l Conduct Pre-trial/On Bond I:l SOOI;§Tinn Withllt GOVel'nm€nf MOtiOn for
ep re

Early Plea Agreement I:l Global Plea Agreement
Time Served (not counted in sentence) I:] Waiver of Indictment I___l Waiver of Appeal
Policy Disagreement with the Guidelines (Kimbrough v. U.S., 552 U.S. 85 (2007): (Specijjv)

|:|I:]|:| l:l|:ll§|'_'ll:||:|l:||:| |:|

 

 

El

Other: (Speotjy)

 

D. State the basis for a variance. (Use Seotion Vlll ifnecessaiy)

The Court agrees with the govemment's recommendation for a modest downward variance because defendant was
not a major participant even if he doesn't qualify as a "minor" participant and has a good employment record.

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AO 245 SOR. (Rev. 09:' 15) Judgment in a Criminal Casc
Attachmcnt (Page 4) _ Statement of Reasons

 

 

 

DEFENDANT: JUAN LARA
CASENUMBER: 1:‘|5-or-‘IO‘146-NMG-7
DISTRICT: |'viA
STATEMENT OF REASONS

VII. COURT DETERMINATIONS ()F RESTITUT!ON

A. m Restitution not applicable

B. Totalamount of restitution: $

 

C. Restitution not ordered: (Check only one)

l. I:l For offenses for which restitution is otherwise mandatory under 18 U.S.C. § 3663A, restitution is not ordered because
the number of identifiable victims is so large as to make restitution impracticable under 18 U.S.C. § 3663A(c)(3)(A).

2. i:l For offenses for which restitution is otherwise mandatory under 18 U.S.C. § 3663A, restitution is not ordered
because determining complex issues of fact and relating them to the cause or amount of the victims’ losses would
complicate or prolong the sentencing process to a degree that the need to provide restitution to any victim would be
outweighed by the burden on the sentencing process under 18 U.S.C. § 3663A(c)(3)(B).

3. [] For other offenses for which restitution is authorized under 18 U.S.C. § 3663 and/or required by the sentencing
guidelines, restitution is not ordered because the complication and prolongation of the sentencing process resulting
from the fashioning of a restitution order outweigh the need to provide restitution to any victims under l 8 U.S.C. §
3663(a)(1)(B)(ii).

4. [:\ For offenses for which restitution is otherwise mandatory under 18 U.S.C. §§ 1593, 2248, 2259, 2264, 2327 or
3663A, restitution is not ordered because the victim(s)‘(s) losses were not ascertainable (18 U.S.C. § 3664(d)(5)).

5. \:1 For offenses for which restitution is otherwise mandatory under 18 U.S.C. §§ 1593, 2248, 2259, 2264, 2327 or
3663A, restitution is not ordered because the victim(s) elected to not participate in any phase of determining the
restitution order (18 U.S.C. § 3664(g)(1)).

6. I:l Restitution is not ordered for other reasons: (Explain)

 

D. m Partial restitution is ordered for these reasons: (18 U.S.C. § 3553(¢))

VlIl. ADDITIONAL BASIS FOR THE SENTENCE IN THIS CASE (i)tapplicable)

 

 

 

Defendant’s Soc. Sec. No.: XXX-XX-XXXX Date of Imposition of Judgment: 1207/2016
Defendant's Date of Birth: 1968 ; ‘iwd~"/€WW
Signature of Judge

|n Federa| Custody

 

Defendant’s Residence

Addresg- Name and Title of Judge

Date: /2_/(.77//6

 

in Federai Custody
Defendant’s Mailing

Address:

 

